                                 Case 2:21-cv-05860-VAP-ADS Document 13 Filed 10/28/21 Page 1 of 1 Page ID #:74




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                                  8                                     United States District Court
                                                                        Central District of California
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                                          ROY DAVIS GASH,
Central District of California
United States District Court




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                                 12                        Plaintiff,                 Case No. CV 21-05860-VAP-ADSx
                                 13                     v.
                                                                                      ORDER OF DISMISSAL
                                 14       ETHEL, LLC, et al.,

                                 15                        Defendants.
                                 16

                                 17           The Court having been advised by counsel for the parties that the above-
                                      entitled action has settled,
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                                 19         IT IS ORDERED that this action be, and hereby is, dismissed in its entirety
                                      without prejudice.
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                                            THE COURT will retain jurisdiction for a period of sixty (60) days to
                                 22   enforce the terms of the settlement. All pending dates are hereby vacated.
                                 23
                                      Dated: October 28, 2021
                                 24                                                    ___________________________
                                                                                       VIRGINIA A. PHILLIPS
                                 25                                                    United States District Judge
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